






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00601-CR

NO. 03-07-00602-CR






Richard Vernon Amendt Sr., Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NOS. A-06-1244-S &amp; A-06-1245-S, HONORABLE BEN WOODWARD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	A jury convicted appellant Richard Vernon Amendt, Sr. of two counts of aggravated
sexual assault of a child and assessed punishment at twenty-five years' imprisonment.  See
Tex.&nbsp;Penal Code Ann. § 22.021 (West Supp. 2008).  The trial court entered a judgment in accordance
with the jury's verdicts, sentencing appellant to concurrent twenty-five year sentences.  Appellant's
appointed attorney has filed a brief concluding that the appeal is frivolous and without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969). 
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have considered the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We grant counsel's motion to withdraw and affirm the judgment of conviction. (1) 



					___________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   August 29, 2008

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


